          Case 1:18-mj-00117-RMM Document 1-1 Filed 09/27/18 Page 1 of 6



                                         STATEMENT OF FACTS

        Leading up to Monday September 24, 2018, Detective Timothy Palchak, the undersigned
Detective/Task Force Officer (herein “UC”) was acting in an undercover capacity as part of the
Metropolitan Police Department-Federal Bureau of Investigation (“MPD-FBI”) Child Exploitation
Task Force. In that capacity, the UC posted an advertisement on a website known to law
enforcement as a platform used by individuals that have a sexual interest in children among other
things. The site is an anonymous social networking application where users are given a random
nickname upon joining and can later change the name if they choose to do so. Users then post
confessions, either fact or fiction, by super imposing text on a photo. The application has its own
gallery of photos and fonts to choose from for the posts, which helps protect the anonymity of
users. The UC posted a message in a group called, “Single Dads.” The message read, “And other
dads babysitting?  pm me,” superimposed over an image of a man.

        On the afternoon of Monday September 24, 2018, a user using the name, “anonymous,”
later identified as the defendant, Zachary Franklin Ragone, contacted the UC and began a private
chat communication. During the course of the chat the defendant said he was a 35 year-old male
residing near Dulles Virginia. The UC informed the defendant that he had a 3 year-old niece and
a 9 year-old daughter. The defendant responded, “Been messing with them both?” The UC
responded, “Yes, mostly rubbing and jerking on them.” The UC then began asking the defendant
more questions: 1

         UC:               U ever meet or get pics from any young ones

         Defendant:        I’ve never met but would absolutely try if I had the chance. I have seen
                           some pictures

         UC:               Mmmm what’s the youngest pics u have

         Defendant:        I guess 2-ish

        Shortly after, the defendant asked the UC if he had a Wickr 2 or Telegram 3 account. The
UC stated that he had KIK and provided his screen name. On September 24, 2018, the defendant
sent the UC a message via KIK. 4 The defendant used the KIK screen name, “letshavefun8291”
with a display name of “Frank Lynn.”

        During the course of the chat, the defendant sent the UC a clothed image of a prepubescent
child, stating, “Gotta love the cute little ones.” The UC then sent the defendant an image of his
purported 9 year-old child, 5 which led to the following exchange:

1
          All text abbreviations and typographical errors in quoted chat language reflect the original.
2
          Wickr is a messaging application that allows people to send files to others and in a certain amount of time
the sent files are automatically deleted.
3
          Telegram is a cloud-based instant messaging and voice over IP service that is heavily encrypted and
messages delete after a certain amount of time.
4
          KIK refers to KIK messenger, a free mobile application that permits users to send text messages and other
content, including videos and images.
5
          The image did not depict a real child.

                                                          1
        Case 1:18-mj-00117-RMM Document 1-1 Filed 09/27/18 Page 2 of 6




       Defendant:     Mmm cute little girl

       UC:            Thanks man

       UC:            Your pics hardcore or normal

       Defendant:     I’m sure those eyes would be so sexy looking up with a cock in her mouth

       UC:            Yes for sure

       Defendant:     Generally normal on kik unless I’m confident the person is fully safe.
                      Since it doesn’t have self destruct timers

       UC:            Ah I understand can’t be too careful

       Defendant:     Yeah. That’s why I normally like telegram or wickr and don’t mind
                      taking the first step there because I can make it auto delete. But on kik I
                      don’t feel safe being the first to share

       The defendant continued sending messages to the UC asking about the UC’s purported
daughter’s body and what the UC likes to do sexually to her. The discussion then turned to the 3-
year-old:

       UC:            The 3 yo is easy

       UC:            You ever played

       Defendant:     How often do you see her

       Defendant:     No, I wish. Would love to

       UC:            Every other week or so

       Defendant:     Babysit her for the day every so often basically?

       Defendant:     When did you last play with her?

       UC:            Yep

       UC:            Today lol

       Defendant:     Mmm, lucky man

       Defendant:     She already gone?



                                                2
        Case 1:18-mj-00117-RMM Document 1-1 Filed 09/27/18 Page 3 of 6



       UC                The lil one yes

       Defendant:        Too bad

        On September 25, 2018, the defendant reached back out to the UC to tell him that he was
in D.C. for training and asked the UC if he lived in the city. When the UC responded that he did,
the defendant suggested getting together so that he could show the UC some of the videos he has.
He also asked the UC “Baby sitting any more this week? May be off between 3 and 4 most days.”
The UC responded that he might have the 3-year-old the next day, and the defendant said
“Hopefully tomorrow can work out.” The defendant then said he would love to see a picture of
the UC’s niece and said “I’m sure you’ll like seeing her hand on my cock as you watch a little girl
being fucked as well.”

       On Wednesday September 26, 2018, the defendant again initiated contact with the UC via
KIK. The defendant stated, “Haven’t stopped thinking about this since yesterday.” During the
course of the chat the UC informed the defendant that he was babysitting his 3 year-old niece that
afternoon. The UC then asked the defendant if he had anything he could share on Wickr since he
does not like to share anything over KIK. The defendant provided his Wickr screen name as
“letshavefun9182” and the UC responded with his screen name.

        The defendant began communicating with the UC on Wickr. The defendant sent the UC
an image of what appears to be an underage teenage girl with her breasts exposed. The UC sent
the defendant two images of his purported daughter with a sign held in front of her with the date
and the message “For Frank.” 6 During the course of the chat the defendant sent the UC two images
depicting child pornography. The first image depicted a female toddler performing oral sex on an
adult male penis. The second image depicted an adult male inserting his erect penis in a
prepubescent child’s vagina. The defendant set the images, as well as most of his messages, to
delete automatically a few minutes after the UC received them. The UC was able to preserve the
images and messages before they deleted.

       The UC then informed the defendant that his daughter was going to be with her mother so
he would only have the 3 year-old, and asked if three was too young for the defendant. The
defendant responded “No, 3 isn’t too young. Would definitely play with her.” The UC and the
defendant then engaged in the following exchange:

       Defendant:        Will do anythijt and everything you’ll let me do with the 3 yo

       Defendant:        Hopefully she’ll truly look like your niece, including the cock in her
                         mouth.

       UC:               Ok no hardcore pen but I’m open to licking sucking and cumming on her

       UC:               What u want to do the most with her ?

       Defendant:        Mmmm, my biggest would be to lick her little cunt and have her suck me

6
       These images did not depict a real child.

                                                   3
        Case 1:18-mj-00117-RMM Document 1-1 Filed 09/27/18 Page 4 of 6




       The two then made plans to meet at a bar after the UC’s purported niece was dropped off
with him and the defendant was finished with his training. The conversation then moved from
Wickr back to KIK and they continued to discuss the plan:

       UC:            Man I’m so fucking excited . Can wait to see her with another cock

       UC:            I’ll shoot u a message as soon as I hear back

       Defendant:     Mmm, God I can only imagine how good it’ll feel with her mouth around
                      my fat head

       UC:            Mmmmm

       UC:            Yes

       Defendant:     Does she seem to have fun when you touch and play?

       UC:            Oh yes , sometimes she is bored but most of the time she seems to enjoy
                      and likes to play with the cum on her fingers

       Defendant:     Mmmm good. That makes it so much more fun if she actually is liking it

       UC:            Oh yes she does and never cry’s or anything like that

       Defendant:     My mouth is watering imagining getting my tongue inside her

       UC:            Mmmmm fuck I can’t wait

       Defendant:     Me too. So not going to be able to concentrate in class this afternoon.
                      And I’ll be peeking st my phone constantly for updates lol

       Defendant:     Id love to hold her pussy lips open and let you cum on her exposed hole

They continued discussing the plan to meet up that afternoon and the chat continued:

       UC:            What are you most looking forward to or wanting?”

       Defendant:     Can’t wait to see your face when I spread her little pussy apart

       UC:            What about u

       Defendant:     Mm mmm fuck

       Defendant:     That first moment tasting her



                                                4
            Case 1:18-mj-00117-RMM Document 1-1 Filed 09/27/18 Page 5 of 6



          Defendant:        Your and her reaction seeing a little girl being fucked

          Defendant:        Watching her sucking you or sucking me

        The defendant and the UC continued exchanging messages throughout the afternoon. On
September 26, shortly after 4:00 p.m. the defendant met the UC at a prearranged location in
Washington, D.C. The defendant approached the UC at the location and introduced himself as
Frank. The UC exchanged pleasantries and then stated that his sister- n-law was dropping off his
niece in 5 to 10 minutes. The UC stated that he was going to use the restroom and then they would
walk towards his apartment. The defendant stated “ok that will give me time to cool off.” As the
UC proceeded to the restroom, the defendant was arrested without incident.

       Following his arrest, the defendant was advised of his rights and waived them, agreeing to
speak with the agents. The defendant stated that he is employed by the Transportation Security
Administration as a program analyst. During the interview, the defendant admitted to distributing
child pornography to the UC. Specifically he stated that he has been interested in child
pornography since he was 12 years old. He admitted to meeting the UC on the above-described
application and responding to the UC’s post. The defendant responded to the post, even though
he does not have any children. The defendant and the UC chatted over this application and then
moved their conversation to KIK. The defendant stated that he could not remember what his actual
KIK name was, but he believed it to be “letshavefun” with some numbers at the end of the name.

        The defendant further stated that he used Wickr to send the UC two to three pictures
containing child pornography. The defendant described the photos as one being multiple
“children” nude, and stated that he could not remember if they were engaging in sexual acts, and
the second one as a female child engaging in a sex act. 7

        The defendant said that the photos he sent to the UC were part of a collection that he had
on his iPhone X cell phone. The defendant stated that he was on Reddit, a blogging website, and
saw that someone was looking to share “kinky” things with others. The defendant responded that
he was interested to see what the poster possessed, and the Reddit user sent the defendant a link.
Once the defendant accessed the link, he saw that it contained child pornography. He then saved
the photos to an encrypted private application on his iPhone X cell phone. At the time of the
interview, the defendant stated that he could not remember the name of the application in which
he stored the photos on his phone. The photos that the defendant send to the UC came from this
application and the defendant stated that there were 100 or more photos and videos in his
application containing child pornography. The defendant also stated that in the past he has
downloaded child pornography, but deleted it because he felt that it was bad for him to look at it.



                                                       __________________________________
                                                       DETECTIVE TIMOTHY PALCHAK
                                                       METROPOLITAN POLICE DEPARTMENT

7
    The actual pictures sent by the defendant to the UC are described above.

                                                           5
        Case 1:18-mj-00117-RMM Document 1-1 Filed 09/27/18 Page 6 of 6




Subscribed and sworn to before me this ______ day of September, 2018.


                                          ______________________________
                                          ROBIN M. MERIWEATHER
                                          UNITED STATES MAGISTRATE JUDGE




                                             6
